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           UNITED STATES COURT OF INTERNATIONAL TRADE


                                                Before: Mark A. Barnett,
 IN RE SECTION 301 CASES                        Claire R. Kelly and
                                                Jennifer Choe-Groves, Judges
                                                Court No. 21-00052



                                      ORDER

      Notwithstanding the Preliminary Injunction and Temporary Restraining

Order entered by this court on July 6, 2021 (ECF No. 330) (“Preliminary Injunction”),

as amended, and recognizing the joint and separate status reports provided by

Defendants and Plaintiffs (ECF Nos. 343, 345, 354, 355, 365, 393, 395, and 406), the

joint status conferences held by the court (ECF Nos. 334, 350, 356, and 398), and the

representations of the Parties made therein, it is hereby:

      ORDERED that, in light of Defendants’ representation to the Court that it

must accept the option to stipulate to refund any duties found to have been illegally

collected for all Subject Entries (as that term is defined in the Preliminary

Injunction), Defendants shall liquidate those entries in the ordinary course and,

should the Court find that the List 3 and/or List 4A duties have been illegally

collected, and should that decision become final and conclusive, including all appeals,

Defendants shall reliquidate any Subject Entry in accordance with a final court

decision in this case without the assessment of List 3 and List 4A duties or otherwise

refund to Plaintiffs such duties, with interest, as provided by law. This Order shall
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only apply to entries that were unliquidated at the time of the Preliminary Injunction,

and to entries entered on or after July 6, 2021; it is further

      ORDERED that the requirement for Defendants to establish a repository, as

contained in the fifth ORDERED paragraph of the Preliminary Injunction, is hereby

VACATED; and it is further

      ORDERED that the Temporary Restraining Order issued in the eighth

ORDERED paragraph of the Preliminary Injunction, as amended, is hereby

VACATED.

      This Order is without prejudice to the issue of whether, in the event the List 3

and/or List 4A duties are found to have been illegally collected, refunds will be limited

to Plaintiffs in the Section 301 Cases that are the importers of record who paid the

List 3 and/or List 4A duties.


                                                       /s/ Claire R. Kelly
                                                      Claire R. Kelly, Judge

                                                      /s/ Jennifer Choe-Groves
                                                      Jennifer Choe-Groves, Judge

Dated:       Wednesday, September 8, 2021
             New York, New York
